                                                       Entered on Docket
                                                       January 13, 2016
                                                       EDWARD J. EMMONS, CLERK
                                                       U.S. BANKRUPTCY COURT
                                                       NORTHERN DISTRICT OF CALIFORNIA




 1    DEVIN DERHAM-BURK #104353
      CHAPTER 13 STANDING TRUSTEE                    The following constitutes
 2    Devin L. Pace #256514                          the order of the court. Signed January 13, 2016
      Nanette Dumas #148261
 3    Jane Z. Bohrer #243692
      P O BOX 50013
 4    SAN JOSE, CA 95150-0013                          _________________________________________________
                                                       M. Elaine Hammond
                                                       U.S. Bankruptcy Judge
 5    Telephone: (408) 354-4413
      Facsimile: (408) 354-5513
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 8                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 9                                    SAN JOSE DIVISION
10
                                                       )
11    In Re:                                           )         Chapter 13
                                                       )
12    DIRK HUGHES-HARTOGS                              )         Case No. 15-51318 MEH
                                                       )
13                                                     )         ORDER OF DISMISSAL
                                                       )         PRIOR TO CONFIRMATION
14                                    Debtor

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16        DEVIN DERHAM-BURK, Chapter 13 Standing Trustee, filed a Motion to Dismiss [Docket

17    #25] along with a Notice and Opportunity for Hearing [Docket #26] on December 07, 2015

18    which was properly served on all interested parties. No opposition or request for hearing has been

19    filed with respect to the Motion to Dismiss, and the Trustee has requested relief by default. The

20    Court having considered all pleadings and evidence before it, and good cause appearing therefore,

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22    IT IS HEREBY ORDERED THAT the case is dismissed without prejudice. After payment of

23    allowed adequate protection payments, administrative costs or fees, the Chapter 13 Standing

24    Trustee shall return to the debtor any remaining balance of funds on hand.

25    /

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 1    Notwithstanding the dismissal of the case, the Chapter 13 Standing Trustee shall remit to the Clerk

 2    of the Court funds from any previously disbursed checks that remain uncashed. The Chapter 13

 3    Standing Trustee shall submit at a later date her Trustee’s Final Report for approval by the Court.

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 5    Notice of the dismissal shall be served upon all parties by the Clerk of the Court.

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 7                                       * * * END OF ORDER * * *

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                                    COURT SERVICE LIST


 Case Name: DIRK HUGHES-HARTOGS                                        Case No.: 15-51318 MEH



 Registered ECF Participants will receive an electronically mailed copy of the foregoing document.

 Non-registered parties, and/or those not represented by a registered ECF participant:




 Pro Se Debtor

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 MORGAN HILL, CA 95038




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